          Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 1 of 6



045277/19344/JJR

                         UNITED States District Court
                                   Western District of Wisconsin

ADAM CHRISTOPHER,

                      Plaintiff,

V.

CATHY JESS, TAMMY MAASSEN,                          Case Number: 18 cv 944
GEORGIA KOSTOHRYZ, DR. LILY LIU,
JODY DOUGHERTY, BRANDA MULLER,
LIZZIE TEGELS, E. KIMPEL, SERGEANT
ISENSEE, J. DOE 1, J. DOE 2, J. DOE 3, J.
DOE 4, J. DOE 5, DR. BRET REYNOLDS,
MAGGIE JESSIE and E. SCROOGE,

                      Defendants.

     DEFENDANT DR. LILY LIU’S MEMORANDUM OF LAW IN SUPPORT OF HER
     MOTION FOR PARTIAL SUMMARY JUDGMENT ON EXHAUSTION GROUNDS

        Defendant, DR. LILY LIU (“Dr. Liu”), by and through her attorney, John J. Reid of

CASSIDAY SCHADE LLP, moves this Court for an Order, pursuant to Fed. R. Civ. P. 56(a),

dismissing all Plaintiff’s allegations against her except the allegation she prescribed inadequate

medication on May 9, 2018 for gastrointestinal issues. Dr. Liu states the following to support the

Motion:

                                         introduction

        Plaintiff was allowed, through the Court’s Screening Order, to proceed on his Eighth

Amendment and state negligence claims that Dr. Liu failed to provide him adequate medical care

for his back pain, fatigue, and gastrointestinal problems. (PFOF ^ 2). Upon review of Inmate

Complaints, the only allegation against Dr. Liu that arguably appears to have been exhausted is

that she provided inadequate medication for gastrointestinal issues on May 9, 2018 when she

prescribed Colace.   (See PFOF ^ 3-4).        Dr. Liu moves for summary judgment on all the
        Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 2 of 6



remaining allegations on the basis that he failed to exhaust administrative remedies as to Dr. Liu,

ineluding allegations that she provided inadequate eare for back and fatigue complaints and that

she did not order a colonoscopy.

                                     STANDARD OF REVIEW

       Under Federal Rule of Civil Procedure 56(a), “the Court shall grant summary judgment if

the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.     Summary judgment must be granted “against a party

who fails to make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.     Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986).

       The opposing party must support his assertions of disputed facts with citations “to

particular parts of materials in the record, including depositions, documents, electronically stored

information, affidavits or declarations, stipulations (including those made for purposes of the

motion only), admissions, interrogatory answers, or other materials.             Fed. R. Civ. P.

56(c)(1)(A).

                                           ARGUMENT

I.     Exhaustion of administrative remedies is a legal prerequisite to filing suit under 42

U.S.C. § 1983.

       The Prisoner Litigation Reform Act (“PLRA”) requires Plaintiff to properly exhaust all

available administrative remedies prior to filing suit in federal court:

                 APPLICABILITY OF ADMINISTRATIVE REMEDIES.

               No action shall be brought with respect to prison conditions under section
                1983 of this title, or any other Federal law, by a prisoner confined in any
               jail, prison, or other correctional facility until such administrative
               remedies as are available are exhausted.



                                                  2
         Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 3 of 6




42 U.S.C. § 1997e(a). The “exhaustion requirement applies to inmate suits about prison life,

whether they involve general circumstances or particular episodes, and whether they allege

excessive force or some other wrong.    Porter v. Nussle, 534 U.S. 516, 532 (2002). A suit filed

by a prisoner “before administrative remedies have been exhausted must be dismissed; the

district court lacks jurisdiction to resolve the claim on the merits.    Perez v. Wis. Dep’t of

Corrections, 182 F.3d 532, 535 (7th Cir. 1999).         The “judge must address the subject

immediately” and resolve “disputes about its application before turning to any other issue in the

giuit.” Id. at 536.

        Prisoners must properly exhaust their administrative remedies by completing “the

administrative review process in accordance with the applicable procedural rules.'      Jones V.

Block, 549 U.S. 199, 217-18 (2007) (citation omitted). This includes filing their complaints and

appeals “in the place, and at the time, the prison’s administrative rules require.      Pozo V.

McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002).

        The exhaustion requirement provides prompt notice and allows prison officials to address

a situation internally. Smith v. Zachary, 255 F.3d 446, 450 (7th Cir. 2001). The process helps

develop a factual record, prevents the exacerbation of any claimed damages, and is “preferable to

a system where the prison might get its first notice of a claim in a lawsuit filed several years

later.” M; see also Turley v. Rednour, 729 F.3d 645, 650 (7th Cir. 2013); Strong v. David, 297

F.3d 646, 650 (7th Cir. 2002).

        There is no substantial compliance exception; a good faith attempt to exhaust is not

enough. Smith, F.3d at 452. Furthermore, exhaustion is required no matter what relief the

plaintiff seeks. Booth v. Churner, 532 U.S. 731 (2001).    The Seventh Circuit applies a “strict

compliance approach to exhaustion” and expects prisoners to adhere to “the specific procedures



                                               3
          Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 4 of 6



and rules established by the prisoner’s policy.” Dole v. Chandler, 438 F.3d 804, 809 (7th. Cir.

2006).

II.      Wisconsin’s principal administrative remedy is the Inmate Complaint Review

System.

         Wisconsin has established the Inmate Complaint Review System (“ICRS”) as the

principal administrative remedy for those individuals in state custody. Wis. Admin. Code §

DOC 310.05. The system allows inmate grievances concerning prison conditions or the actions

of the prison officials to be “expeditiously raised, investigated and decided.” Wis. Admin. Code

§ 310.01. Wisconsin law requires an inmate to file an ICRS complaint to challenge “significant

issues regarding rules, living conditions, and staff actions affecting institution environment.

Wis. Admin. Code § 310.08(1). The ICRS system has “the purpose of affording inmates a

procedure by which grievances may be expeditiously raised, investigated, and decided.” Staples

V.   Young, 149 Wis. 2d 80, 85, 438 N.W.2d 567 (1989).

         Under ICRS, the inmate must file a complaint with the Inmate Complaint Examiner

within 14 days after the occurrence giving rise to the complaint. Wis. Admin. Code. § DOC

310.07(2). The Reviewing Authority will then make a deeision within 15 days following the

Institution Complaint Examiner’s recommendation. Wis. Admin. Code. § DOC 310.11. If the

prisoner is dissatisfied with the result, he may appeal to the Corrections Complaint Examiner

within 14 days, and the examiner will recommend a decision to the DOC Secretary. Wis.

Admin. Code § DOC 310.12. The Office of the Secretary will then make the final decision.

Wis. Admin. Code. § DOC 310.13. The failure to properly complete each step in the process

constitutes a failure to exhaust available administrative remedies and requires dismissal. Pozo,

286 F.3datl025.




                                               4
       Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 5 of 6



III.   Plaintiff only exhausted administrative remedies for his allegation that Dr. Liu

provided him inadequate medication on May 9,2018 for gastrointestinal issues.

       The only Inmate Complaint filed by Plaintiff that specifically addressed Dr. Liu was filed

on May 9, 2018 addressing gastrointestinal issues only and specifically complained that she

prescribed Colace when Plaintiff claimed that that prescription was inadequate. (PFOF f 4).

This Inmate Complaint was timely and went through the appropriate appellate levels. (Reid

Decl. Ex. A). However, this is the only allegation in the Complaint filed with the Court against

Dr. Liu that appears to have been exhausted administratively prior to Plaintiff filing suit in

federal court. Thus, the only allegation Dr. Liu is not moving to dismiss on the basis of failure to

exhaust administrative remedies is the claim by Plaintiff that the prescriptions of medication of

May 9, 2018 was inadequate to address his concerns.

IV.    Plaintiff did not exhaust any of his other allegations against Dr. Liu, including

allegations that she failed to treat back and fatigue issues or order a colonoscopy.

       No Inmate Complaint was submitted claiming Dr. Liu specifically failed to treat any

fatigue or back issues.   (PFOF       5-8). Although Inmate Complaint JCI-2018-14777 does

complain of back and fatigue issues. Dr. Liu is not mentioned at all, and the date the Inmate

Complaint was submitted does not correspond with the dates he alleges Dr. Liu provided

treatment to him, as set forth in Plaintiffs own Complaint at Law. (Reid Decl. Ex. B). All

allegations that Dr. Liu failed to treat his fatigue or back, including allegations for failing to

order a back specialist or a colonoscopy, should be dismissed.

       The only Inmate Complaint claiming Dr. Liu provided inadequate care for

gastrointestinal issues was signed May 9, 2018 and limited to her prescribing Colace. (PFOF f

4). He did not submit an Inmate Complaint that she falsely told him she ordered a colonoscopy.




                                                 5
          Case: 3:18-cv-00944-bbc Document #: 36 Filed: 07/03/19 Page 6 of 6




(PFOF ^ 8-9). None of Plaintiff s allegations against Dr. Liu were addressed administratively, is

a necessary pre-requisite to proceeding with the Complaint at Law, with the sole expectation

regarding Plaintiffs dispute with the adequacy of the order for Colace in May, 2018. Thus

allegations that she did not order a colonoscopy or otherwise failed to treat gastrointestinal

issues, in addition to all other complaints as set forth above and in Plaintiffs Complaint, should

be dismissed.

                                            CONCLUSION

         Wherefore, Defendant, DR. LILY LIU, respectfully requests that this Honorable Court

dismiss all Plaintiffs allegations against her except the allegation she prescribed inadequate

medication on May 9, 2018 for gastrointestinal issues for the reasons set forth above and in the

accompanying documents.

Dated this July 3, 2019.


                                             Respectively submitted,

                                             CASSIDAY SCHADE LLP

                                             By: U!                IRecd
                                                One of the Attorneys for Defendant, DR. LILY
                                                LIU

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